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                             UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF NEW YORK


 ANTHONY MORGAN,                                           Case No. _____________

                         Plaintiff,
                                                           COMPLAINT FOR VIOLATIONS
            v.                                             OF THE FEDERAL SECURITIES
                                                           LAWS
 TERMINIX GLOBAL HOLDINGS, INC.,
 NAREN GURSAHANEY, DEBORAH H.
 CAPLAN, DAVID J. FREAR, LAURIE ANN                        JURY TRIAL DEMANDED
 GOLDMAN, STEVEN B. HOCHHAUSER,
 BRETT PONTON, TERESA M. SEBASTIAN,
 STEPHEN J. SEDITA, and CHRIS S. TERRILL,

                         Defendants.




       Plaintiff Anthony Morgan (“Plaintiff”), by and through his undersigned counsel, for his

complaint against defendants, alleges upon personal knowledge with respect to himself, and upon

information and belief based upon, inter alia, the investigation of counsel as to all other allegations

herein, as follows:

                         NATURE AND SUMMARY OF THE ACTION

       1.        This is a stockholder action brought by Plaintiff against Terminix Global Holdings,

Inc. (“Terminix” or the “Company”) and the members of Terminix’s Board of Directors (the

“Board” or the “Individual Defendants”) for their violations of Sections 14(a) and 20(a) of the

Securities Exchange Act of 1934 (the “Exchange Act”), 15 U.S.C. §§ 78n(a), 78t(a), and U.S.

Securities and Exchange Commission (“SEC”) Rule 14a-9, 17 C.F.R. §240.14a-9 (“Rule 14a-9”),

in connection with the Board’s attempt to merge the Company with Rentokil Initial plc (“Rentokil

Initial”) (the “Proposed Transaction”).
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       2.       On December 13, 2021, Terminix entered into an Agreement and Plan of Merger

with Rentokil Initial and Rentokil Initial’s wholly owned subsidiary Rentokil Initial US Holdings,

Inc. (as amended on March 14, 2022, the “Merger Agreement”). Pursuant to the terms of the

Merger Agreement, Rentokil Initial will issue to Terminix shareholders at closing aggregate

consideration comprised of approximately 643.29 million new Rentokil Initial shares (representing

approximately 128.66 million ADSs based on a 1:5 ADS to Rentokil Initial share ratio) and

approximately US$1.3bn in cash. Based on Rentokil Initial’s volume weighted share price and

the 5-day average of the Sterling-US Dollar exchange rate as of August 21, 2022, the implied value

of the merger consideration was approximately $43.33 per share of Terminix common stock, with

aggregate consideration of 80% cash and 20% stock.

       3.       On September 7, 2022, the Board authorized the filing of the materially incomplete

and misleading Schedule 14A Definitive Proxy Statement (the “Proxy Statement”) with the SEC.

Specifically, the Proxy Statement, which recommends that Terminix stockholders vote their shares

in favor of the Proposed Transaction, contains materially incomplete and misleading information

concerning, among other things: (i) the financial projections for Terminix and Rentokil Initial; and

(ii) the financial analyses that support the fairness opinion provided by the Company’s financial

advisor, Lazard Frères & Co. LLC (“Lazard”).

       4.       The failure to adequately disclose such material information constitutes a violation

of Sections 14(a) and 20(a) of the Exchange Act as Terminix stockholders need such information

in order to make a fully informed decision in connection with the Proposed Transaction.

       5.       The special meeting for Terminix stockholders to vote on the Proposed Transaction

is currently scheduled for October 6, 2022. It is imperative that such Exchange Act violations are

promptly cured to enable Plaintiff and Terminix’s other shareholders to make an informed decision




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whether to vote their shares in favor of the Proposed Transaction. Therefore, Plaintiff seeks to

enjoin the stockholder vote unless and until such Exchange Act violations are cured.

                                  JURISDICTION AND VENUE

        6.       This Court has jurisdiction over the claims asserted herein for violations of Sections

14(a) and 20(a) of the Exchange Act and SEC Rule 14a-9 promulgated thereunder pursuant to

Section 27 of the Exchange Act, 15 U.S.C. § 78aa, and 28 U.S.C. § 1331 (federal question

jurisdiction).

        7.       Personal jurisdiction exists over the defendants because each defendant either

conducts business in or maintains operations within this District, or is an individual with sufficient

minimum contacts with this District so as to make the exercise of jurisdiction by this Court

permissible under traditional notions of fair play and substantial justice.

        8.       Venue is proper in this District pursuant to 28 U.S.C. § 1391 because defendants

are found or are inhabitants or transact business in this District. Terminix’s common stock trades

on the New York Stock Exchange, which is headquartered in this District, rendering venue in this

District appropriate.

                                           THE PARTIES

        9.       Plaintiff is, and has been at all relevant times, the owner of shares of Terminix

common stock.

        10.      Defendant Terminix is a Delaware corporation, with its principal executive offices

located at 150 Peabody Place, Memphis, Tennessee 38103. Terminix’s shares trade on the New

York Stock Exchange under the ticker symbol “TMX.”

        11.      Defendant Naren Gursahaney has been Non-Executive Chairman of the Board and

a director of the Company at all relevant times.




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         12.   Defendant Deborah H. Caplan has been a director of the Company at all relevant

times.

         13.   Defendant David J. Frear has been a director of the Company at all relevant times.

         14.   Defendant Laurie Ann Goldman has been a director of the Company at all relevant

times.

         15.   Defendant Steven B. Hochhauser has been a director of the Company at all relevant

times.

         16.   Defendant Brett Ponton has been Chief Executive Officer and a director of the

Company at all relevant times.

         17.   Defendant Teresa M. Sebastian has been a director of the Company at all relevant

times.

         18.   Defendant Stephen J. Sedita has been a director of the Company at all relevant

times.

         19.   Defendant Chris S. Terrill has been a director of the Company at all relevant times.

         20.   Defendants identified in paragraphs 11-19 are collectively referred to herein as the

“Board” or the “Individual Defendants.”

                              SUBSTANTIVE ALLEGATIONS

Background of the Company

         21.   Founded in 1929, Terminix provides residential and commercial termite and pest

management services. The Company offers termite and pest control services, including termite

remediation, annual termite inspection, and prevention treatments with termite damage repair

guarantees, periodic pest management services, insulation services, crawlspace encapsulation,

wildlife exclusion, and disinfection services. Terminix’s services protect against termite damage,




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rodents, insects and other pests, including cockroaches, spiders, wood-destroying ants, ticks, fleas,

mosquitos, and bed bugs. The Company serves under the Terminix, Assured Environments,

Copesan, Gregory, McCloud, and Nomor AB brands.

The Proposed Transaction

       22.       On December 14, 2021, Terminix announced that it had entered into the Proposed

Transaction, stating, in relevant part:

       Transaction summary

       The Boards of Directors of Rentokil Initial plc (“Rentokil Initial”) and Terminix
       Global Holdings, Inc. (“Terminix”) are pleased to announce that Rentokil Initial
       and Terminix have entered into a definitive agreement (the “Agreement”) under
       which Rentokil Initial will acquire Terminix for stock and cash (the “Combination”
       or the “Transaction”). The Transaction will bring together two complementary
       businesses (the “Combined Group”) to create the global leader in pest control and
       hygiene & wellbeing, and the leader in the pest control business in North America,
       the world’s largest pest control market.

       Under the terms of the Agreement, Rentokil Initial will issue to Terminix
       shareholders at closing aggregate consideration comprised of approximately 643.29
       million new Rentokil Initial shares (representing approximately 128.66 million
       American depository shares (“ADSs”), based on a 1:5 ADS to Rentokil Initial share
       ratio) and approximately US$1.3bn in cash. Based on Rentokil Initial’s 5-day
       average daily volume weighted share price and the 5-day average of the Sterling-
       US Dollar exchange rate both over the period spanning 6 to 10 December 2021
       inclusive, this values the entire share capital of Terminix at US$6.7billion, implying
       a value of US$55.00 per share of Terminix common stock, and represents an
       aggregate consideration mix of 80% stock and 20% cash and:

             •   a premium of 47.0% over the closing price of Terminix common stock on
                 13 December 2021 (being the last trading day prior to this announcement);
                 and
             •   a premium of 32.5% over the 90-day volume weighted average share price
                 of Terminix ending on 13 December 2021.

       Terminix shareholders may elect to receive all cash or all stock consideration,
       subject to proration in the event of oversubscription. Each Terminix share for which
       no election or an invalid election is received will be deemed to have elected for all
       stock consideration.




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The value of the per share cash election and the value of the per share stock election
will be equalised ahead of closing such that the value of each election choice will
be substantially the same.

The total number of new Rentokil Initial ADSs to be issued and the aggregate
amount of cash to be paid under the terms of the Agreement will not vary as a result
of individual election preferences.

As part of the Combination, Rentokil Initial will list the American Depository
Receipts (“ADRs”) evidencing the ADSs on the New York Stock Exchange
(“NYSE”). The Combination will result in Terminix’s existing shareholders
owning approximately 26% of the Combined Group on completion and sharing the
benefits accruing to the Combined Group.

The Transaction will combine two leading brands with a long cultural heritage,
outstanding talent and strong focus on people, customers and ESG. Upon
completion, the Combined Group will have c.56,000 colleagues serving c.4.9m
customers around the world from 790 locations. The enlarged business will have a
strong platform for growth, particularly in North America, and an attractive
financial profile to support future growth, including through acquisitions and
continued investment in innovation and technology. For the year ended 31
December 2020, the Combined Group's pro forma revenue would have amounted
to US$5.7bn1 (£4.3bn), with EBITDA of US$1.2bn (£897m) and Free Cash Flow
of US$608m (£458m).

The Combination is expected to create significant value, enhance long-term growth
potential, be highly cash generative and present a compelling industrial logic,
supported by:

   •   increased scale and leadership in the global pest control market;
   •   substantially increased scale in North America, providing an enlarged
       platform for profitable growth;
   •   a complementary and synergistic portfolio combination; and
   •   an attractive financial profile.

The Combination is expected to generate material annual pre-tax net cost synergies
of at least US$150m (£113m) by the third full year post completion. Run rate
synergies are expected to accumulate c.30%, c.80% and 100% in the first, second
and third 12-month periods respectively, post completion. In achieving these
synergies, the Combined Group expects to incur aggregate cash implementation
costs of approximately US$150m, half of which will be incurred in the first 12
months post completion. The Transaction is expected to deliver mid-teens percent
accretion to Rentokil Initial’s earnings per share in the first full year post
completion2.

Recommendations




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       The Boards of Directors of both Terminix and Rentokil Initial have unanimously
       approved the Transaction and resolved to recommend that their respective
       shareholders vote in favour of it.

The Materially Incomplete and Misleading Proxy Statement

       23.     On September 7, 2022, the Board caused to be filed a materially incomplete and

misleading Proxy Statement with the SEC. The Proxy Statement, which recommends that

Terminix stockholders vote their shares in favor of the Proposed Transaction, fails to disclose

material information to Company stockholders, or provides them with materially misleading

information, concerning: (i) the financial projections for Terminix and Rentokil Initial; and (ii) the

financial analyses that support the fairness opinion provided by the Company’s financial advisor,

Lazard.

Material Misrepresentations and/or Omissions Concerning the Financial Projections for Terminix
and Rentokil Initial

       24.     The Proxy Statement fails to disclose material information concerning the financial

projections for Terminix and Rentokil Initial.

       25.     For example, the Proxy Statement fails to disclose the standalone unlevered, after-

tax free cash flows that Terminix was forecasted to generate during the fourth quarter of calendar

year 2021 and during calendar years 2022 through 2025 utilized by Lazard in connection with its

Discounted Cash Flow Analysis of Terminix, as well as the underlying line items.

       26.     The Proxy Statement similarly fails to disclose the standalone unlevered, after-tax

free cash flows that Rentokil Initial was forecasted to generate during the third and fourth quarters

of calendar year 2021 and during calendar years 2022 through 2025 utilized by Lazard in

connection with its Discounted Cash Flow Analysis of Rentokil Initial, as well as the underlying

line items.




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       27.     In addition, with respect to the Company’s September 2021, October 2021 and

December 2021 financial projections for Terminix and its financial projections for Rentokil Initial,

the Proxy Statement fails to disclose the line items underlying the Company’s and Rentokil

Initial’s projected (i) Adjusted EBITDA; and (ii) Free Cash Flow.

       28.     The Proxy Statement further fails to disclose a summary of the Wall Street equity

analysts’ consensus estimates for Terminix utilized by Lazard in connection with the analyses

underlying its fairness opinion.

Material Misrepresentations and/or Omissions Concerning Lazard’s Financial Analyses

       29.     The Proxy Statement fails to disclose material information concerning Lazard’s

financial analyses.

       30.     With respect to Lazard’s Discounted Cash Flow Analysis of Terminix, in addition

to the Company’s unlevered free cash flows, the Proxy Statement fails to disclose a quantification

of: (i) the Company’s terminal values; and (ii) the inputs and assumptions underlying the discount

rates ranging from 7.8% to 8.8%.

       31.     With respect to Lazard’s Discounted Cash Flow Analysis of Rentokil Initial, in

addition to the unlevered free cash flows for Rentokil Initial, the Proxy Statement fails to disclose

a quantification of: (i) Rentokil Initial’s terminal values; and (ii) the inputs and assumptions

underlying the discount rates ranging from 5.3% to 6.3%.

       32.     With respect to Lazard’s Present Value of Future Share Price analysis, the Proxy

Statement fails to disclose: (i) Terminix’s and Rentokil Initial’s respective estimated EBITDA for

calendar year 2024; (ii) the inputs and assumptions underlying the discount rate of 9.4% for

Terminix and 7.0% for Rentokil Initial; and (iii) Rentokil Initial’s estimated annual dividend

payments before December 31, 2023.




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       33.     With respect to Lazard’s Analyst Target Prices analysis, the Proxy Statement fails

to disclose: (i) the individual price targets observed; and (ii) the sources thereof.

       34.     In sum, the omission of the above-referenced information renders statements in the

“Certain Terminix Unaudited Prospective Financial Information” and “Opinion of Terminix’s

Financial Advisor” sections of the Proxy Statement materially incomplete and misleading in

contravention of the Exchange Act. Absent disclosure of the foregoing material information prior

to the stockholder vote, Plaintiff and the other stockholders of Terminix will be unable to make a

sufficiently informed decision in connection with the Proposed Transaction and are thus threatened

with irreparable harm warranting the injunctive relief sought herein.

                                      CLAIMS FOR RELIEF

                                              COUNT I

  Claims for Violation of Section 14(a) of the Exchange Act and Rule 14a-9 Promulgated
              Thereunder Against the Individual Defendants and Terminix

       35.     Plaintiff repeats and realleges the preceding allegations as if fully set forth herein.

       36.     The Individual Defendants disseminated the false and misleading Proxy Statement,

which contained statements that, in light of the circumstances under which they were made,

omitted to state material facts necessary to make the statements therein not materially misleading,

in violation of Section 14(a) of the Exchange Act and Rule 14a-9. Terminix is liable as the issuer

of these statements.

       37.     The Proxy Statement was prepared, reviewed, and/or disseminated by the

Individual Defendants. By virtue of their positions within the Company, the Individual Defendants

were aware of this information and their duty to disclose this information in the Proxy Statement.

       38.     The Individual Defendants were at least negligent in filing the Proxy Statement

with these materially false and misleading statements.




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       39.     The omissions and false and misleading statements in the Proxy Statement are

material in that a reasonable stockholder will consider them important in deciding how to vote on

the Proposed Transaction. In addition, a reasonable investor will view a full and accurate

disclosure as significantly altering the total mix of information made available in the Proxy

Statement and in other information reasonably available to stockholders.

       40.     The Proxy Statement is an essential link in causing Plaintiff and the Company’s

stockholders to approve the Proposed Transaction.

       41.     By reason of the foregoing, defendants violated Section 14(a) of the Exchange Act

and Rule 14a-9 promulgated thereunder.

       42.     Because of the false and misleading statements in the Proxy Statement, Plaintiff is

threatened with irreparable harm.

                                            COUNT II

                  Claims for Violation of Section 20(a) of the Exchange Act
                             Against the Individual Defendants

       43.     Plaintiff repeats and realleges the preceding allegations as if fully set forth herein.

       44.     The Individual Defendants acted as controlling persons of Terminix within the

meaning of Section 20(a) of the Exchange Act as alleged herein. By virtue of their positions as

officers and/or directors of Terminix and participation in and/or awareness of the Company’s

operations and/or intimate knowledge of the false statements contained in the Proxy Statement,

they had the power to influence and control and did influence and control, directly or indirectly,

the decision making of the Company, including the content and dissemination of the various

statements that Plaintiff contends are false and misleading.

       45.     Each of the Individual Defendants was provided with or had unlimited access to

copies of the Proxy Statement alleged by Plaintiff to be misleading prior to and/or shortly after




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these statements were issued and had the ability to prevent the issuance of the statements or cause

them to be corrected.

       46.      In particular, each of the Individual Defendants had direct and supervisory

involvement in the day-to-day operations of the Company, and, therefore, is presumed to have had

the power to control and influence the particular transactions giving rise to the violations as alleged

herein, and exercised the same. The Proxy Statement contains the unanimous recommendation of

the Individual Defendants to approve the Proposed Transaction. They were thus directly involved

in the making of the Proxy Statement.

       47.      By virtue of the foregoing, the Individual Defendants violated Section 20(a) of the

Exchange Act.

       48.      As set forth above, the Individual Defendants had the ability to exercise control

over and did control a person or persons who have each violated Section 14(a) of the Exchange

Act and Rule 14a-9, by their acts and omissions as alleged herein. By virtue of their positions as

controlling persons, these defendants are liable pursuant to Section 20(a) of the Exchange Act. As

a direct and proximate result of defendants’ conduct, Plaintiff is threatened with irreparable harm.

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff demands judgment and preliminary and permanent relief,

including injunctive relief, in his favor on behalf of Terminix, and against defendants, as follows:

       A.       Preliminarily and permanently enjoining defendants and all persons acting in

concert with them from proceeding with, consummating, or closing the Proposed Transaction,

including the stockholder vote on the Proposed Transaction, unless and until defendants disclose

the material information identified above which has been omitted from the Proxy Statement;




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       B.      In the event defendants consummate the Proposed Transaction, rescinding it and

setting it aside or awarding rescissory damages to Plaintiff;

       C.      Directing the Individual Defendants to file a Proxy Statement that does not contain

any untrue statements of material fact;

       D.      Awarding Plaintiff the costs of this action, including reasonable allowance for

Plaintiff’s attorneys’ and experts’ fees; and

       E.      Granting such other and further relief as this Court may deem just and proper.


                                          JURY DEMAND

       Plaintiff demands a trial by jury.



 Dated: September 19, 2022                             ACOCELLI LAW, PLLC


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